          Case 1:21-cr-00028-APM Document 106 Filed 03/25/21 Page 1 of 7




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         )
                                                 )
                v.                               )   No.    1:21-cr-28 (APM)
                                                 )
KELLY MEGGS and                                  )
CONNIE MEGGS,                                    )
                         Defendants.             )

               GOVERNMENT’S SUPPLEMENTAL OPPOSITION TO
           DEFENDANTS’ RENEWED REQUESTS FOR PRETRIAL RELEASE

         On March 17 and 23, 2021, the United States filed oppositions to the renewed requests for

pretrial release of Defendant Connie Meggs (ECF 86) and Defendant Kelly Meggs (ECF 98) . The

Court is scheduled to conduct bond review hearings for both defendants on March 26, 2021. The

United States recently became aware of two additional pieces of information that bear on the

question of both defendants’ detention.

         1. Destruction of physical evidence

         When the FBI searched the defendants’ residence in Dunnellon, Florida, on February 17,

2021, the FBI did not locate the clothing or paraphernalia that either defendant was wearing during

the attack on the Capitol on January 6, 2021. That includes, for Defendant Kelly Meggs, his

camouflage helmet, neck gaiter, Oath Keepers t-shirt, or plate carrier with “Oath Keepers” patches;

and for Defendant Connie Meggs, her camouflage helmet, Oath Keepers hat, or Oath Keepers t-

shirt.

         On January 14, 2021, the New Yorker publicized the fact that co-defendant Donovan

Crowl, a “former marine who belongs to the Oath Keepers,” participated in the attack on the
            Case 1:21-cr-00028-APM Document 106 Filed 03/25/21 Page 2 of 7




Capitol. 1 The same day, Defendant Connie Meggs sent a link to the New Yorker article to a family

member:




           On January 22, 2021 – just a week later, and after the media had publicized co-defendant

Crowl’s arrest – Kelly and Connie Meggs sent messages to each other appearing to make light of

the fact that Kelly Meggs had gotten rid of his “gear.” 2 Kelly Meggs told his family that he was

injured in a car accident. Connie Meggs responded that Kelly Meggs should have had his “gear

on,” and she added “lol.” Kelly Meggs replied that he “lost it all in a boating accident”:




1
    https://www.newyorker.com/news/news-desk/a-former-marine-stormed-the-capitol-as-part-of-a-far-right-militia.
2
  A third individual was a part of the message chain, and therefore the communication is not protected by any marital
privilege. See, e.g., Pereira v. United States, 347 U.S. 1, 6 (1954) (“The presence of a third party negatives the
presumption of privacy.”); United States v. Madoch, 149 F.3d 596, 602 (7th Cir. 1998) (telephone communications
between incarcerated husband and wife that were tape recorded by prison officials not protected by communications
privilege since “communications made from jail are likely to be overheard by others, and thus, it is unreasonable to
intend such communications to be confidential”).

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           Case 1:21-cr-00028-APM Document 106 Filed 03/25/21 Page 3 of 7




         2. Firearms training

         Defendant Kelly Meggs wrote in his motion that he “never served in the military nor has

he undergone any paramilitary training.” (ECF 81 at ¶ 3.) And Defendant Connie Meggs asked

to “adopt” the facts advanced in Defendant Kelly Meggs’s motion as if they were made in her own

motion. (ECF 83.) But both defendants have apparently participated in paramilitary training. 3 A

company in Leesburg, Florida, that provides combat training has photos and videos on its website

and Instagram feed showing Kelly Meggs and Connie Meggs – along with co-defendant Kenneth

Harrelson, and other individuals in Oath Keepers garb – participating in tactical firearms training:




3
  As noted in the government’s opposition to Defendant Connie Meggs’s motion, she informed the FBI after her arrest
that she and Kelly Meggs participated in a firearms training class to prepare to be “security” at the rallies and events.
(ECF 86 at 13-14.) But the videos and photos discussed below appear to show her training for tactical warfare with
an AR-platform firearm, not a protective security detail.

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        Case 1:21-cr-00028-APM Document 106 Filed 03/25/21 Page 4 of 7




       In fact, the facility captioned the following photo of Defendant Connie Meggs holding an

AR-platform firearm as “gunfight oriented training”:




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         Case 1:21-cr-00028-APM Document 106 Filed 03/25/21 Page 5 of 7




       One of the videos, titled “Why and where do we shoot people (target areas),” and dated

September 24, 2020, features both Kelly Meggs and Connie Meggs:




In the video, the instructor leading the defendants’ group teaches how to terminate a threat from a

“bad guy.” In the caption to this video, the training facility adds various hashtags for context,

including “#stopantifa,” “#fightback,” and “#giveviolenceachance.” At the training, the instructor

explained to the defendants that they were not the police or military and that the goal is to

incapacitate a threat. In using a rifle, he explained, the defendants should recognize that it is an

“offensive weapon,” and should be used lethally. Specifically, the instructor taught the defendants

that there are three areas on the human body to aim and shoot at to effectively terminate a “bad

guy”: (1) the “high-thoracic cavity” area under the soft spot of the front of the neck, where you

either aim to hit the “heart” to cause “massive hemorrhaging” or the lungs to cause “sucking chest

wounds”; (2) the area “between the eyes at the top of the nose,” to hit the “squishy stuff” and

hopefully the “brain stem, because they’ll drop”; and (3) the “center of whatever you can see,” in

an effort to “break bones” and not just cause “flesh wounds.” At this point in the video, Kelly

Meggs appears to laugh, and he later shows that he has multiple loaded magazines ready to practice

what he learned on what appear to be human-shaped drawings on targets. “Anything worth



                                                 5
           Case 1:21-cr-00028-APM Document 106 Filed 03/25/21 Page 6 of 7




shooting once is worth shooting twice,” the trainer explained, because “a round on him is a good

thing no matter what.”

          In another video posted by the facility, a member of the Meggses’ group is “bounding with

cover from a private,” practicing firing an AR-platform firearm in a crouch position, providing

what appears to be suppressive fire while a comrade moves across a field, communicating with

physical touches on each other’s shoulders, and aiming for accuracy on various targets.

          When interviewed by the FBI, Defendant Kelly Meggs reported that the group of Oath

Keepers did not participate in any firearms training: “In Florida, let’s say there’s ten people that

are firearms trainers. Then those ten people would be the ones that would train us. We never

actually did it, but that was like one of the things we were talking about.” (2/17/21 Interview Tr.

at 16.)

          Finally, Defendant Kelly Meggs’s financial records show that he made payments to this

combat training facility on September 21, 2020 (around the time of the videos and photos shown

above) and on November 27, 2020 (for $600).

                                       Respectfully submitted,

                                       CHANNING D. PHILLIPS
                                       ACTING UNITED STATES ATTORNEY


                                By:
                                       Jeffrey S. Nestler
                                       Assistant United States Attorney
                                       D.C. Bar No. 978296
                                       Ahmed M. Baset
                                       Troy A. Edwards, Jr.
                                       Jeffrey S. Nestler
                                       Kathryn Rakoczy
                                       Assistant United States Attorneys
                                       U.S. Attorney’s Office for the District of Columbia
                                       555 4th Street, N.W.
                                       Washington, D.C. 20530

                                                  6
Case 1:21-cr-00028-APM Document 106 Filed 03/25/21 Page 7 of 7




                      /s/ Alexandra Hughes
                      Alexandra Hughes
                      Justin Sher
                      Trial Attorneys
                      National Security Division
                      United States Department of Justice
                      950 Pennsylvania Avenue
                      NW Washington, D.C. 20004




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